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                                  · Sentencing on 12/02/2013                          Page 1

·1·   · · · · · · UNITED STATES DISTRICT COURT
· ·   · · ·FOR THE WESTERN DISTRICT OF NORTH CAROLINA
·2
· ·   · · · · · · · · STATESVILLE DIVISION
·3
· ·   _________________________
·4·   · · · · · · · · · · · · ·)
· ·   UNITED STATES OF AMERICA,)
·5·   · · · · · · · · · · · · ·)
· ·   · · · · · ·Plaintiff,· · )· 5:12-cr-00054-RLV-DSC-1
·6·   · · · · · · · · · · · · ·)
· ·   vs.· · · · · · · · · · · )
·7·   · · · · · · · · · · · · ·)
· ·   LUIS ENRIQUE GARCIA· · · )
·8·   · · · · · · · · · · · · ·)
· ·   · · · · · ·Defendant.· · )
·9·   _________________________)

10
· ·   ·   ·   ·   · TRANSCRIPT OF SENTENCING PROCEEDINGS
11·   ·   ·   ·   BEFORE THE HONORABLE RICHARD L. VOORHEES
· ·   ·   ·   ·   · ·UNITED STATES DISTRICT COURT JUDGE
12·   ·   ·   ·   · · · · MONDAY, DECEMBER 2, 2013

13
· ·   APPEARANCES:
14
· ·   ON BEHALF OF THE PLAINTIFF:
15
· ·   ·   ·   ·   ·   ·   Steven R. Kaufman, Esquire
16·   ·   ·   ·   ·   ·   United States Attorneys Office
· ·   ·   ·   ·   ·   ·   227 West Trade Street, Suite 1700
17·   ·   ·   ·   ·   ·   Charlotte, North Carolina 28202
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18·   ·   ·   ·   ·   ·   steven.kaufman@usdoj.gov

19· ON BEHALF OF THE DEFENDANT:

20·   ·   ·   ·   ·   ·   Charles Linwood Morgan , Jr., Esquire
· ·   ·   ·   ·   ·   ·   101 N. McDowell Street, Suite 200
21·   ·   ·   ·   ·   ·   Charlotte, North Carolina 29204
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22·   ·   ·   ·   ·   ·   atticus1215@yahoo.com

23· ALSO PRESENT

24· · · · · · JULIA DAVIS, Spanish Interpreter

25· V. Dario Stanziola, CSR (NJ), RPR, CRR


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·1· MONDAY MORNING, DECEMBER 2, 2013
·2
·3· · · · · · THE COURT:· Is your name Luis Enrique
·4· · · · Garcia.
·5· · · · · · THE DEFENDANT: Yes.
·6· · · · · · THE COURT:· Did you come before this
·7· · · · Court in the person of Judge Keesler on
·8· · · · February 4th of this year and plead guilty in
·9· · · · your case?
10· · · · · · THE DEFENDANT: Yes.
11· · · · · · THE COURT:· Are you pleading guilty to
12· · · · the charge in Count 1 of the Bill of
13· · · · Indictment, which is a charge which alleges
14· · · · conspiracy to distribute and possession with
15· · · · intent to distribute methamphetamine?
16· · · · · · THE DEFENDANT: Yes.
17· · · · · · THE COURT:· Do you think you understand
18· · · · the nature of that charge and the possible
19· · · · penalties?
20· · · · · · THE DEFENDANT: Yes.
21· · · · · · THE COURT:· And in connection with this
22· · · · plea, did you enter into a written agreement,
23· · · · a written plea agreement between you and the
24· · · · government?
25· · · · · · THE DEFENDANT: Yes.

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·1· · · ·THE COURT:· Are you fully satisfied with
·2· ·the services of your attorney in this matter?
·3· · · ·THE DEFENDANT: Yes.
·4· · · ·THE COURT:· Are you pleading guilty
·5· ·freely and voluntarily?
·6· · · ·THE DEFENDANT: Yes.
·7· · · ·THE COURT:· Do you understand that your
·8· ·plea of guilty and the conviction and sentence
·9· ·to be imposed in this case could result in
10· ·adverse immigration consequences for you in
11· ·that, for example, you could be ordered
12· ·deported from the United States?
13· · · ·THE DEFENDANT: Yes.
14· · · ·THE COURT:· All right.· Do the parties
15· ·stipulate to the existence of an independent
16· ·basis in fact to support the plea containing
17· ·the essential elements of the offense charged?
18· · · ·MS. FERRY: Yes, your Honor.
19· · · ·MR. MORGAN:· Yes, your Honor.
20· · · ·THE COURT:· Thank you.
21· · · ·Given the stipulation, the plea of guilty
22· ·and the admissions of the Defendant, the Court
23· ·finds there is such a factual basis, reaffirms
24· ·its acceptance of the plea and it judges the
25· ·Defendant guilty.

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·1· · · ·And Mr. Garcia, did you commit the
·2· ·offense to which you're pleading guilty?
·3· · · ·THE DEFENDANT: Can you repeat that again,
·4· ·please?
·5· · · ·THE COURT:· Yes.
·6· · · ·Did you commit that offense?
·7· · · ·THE DEFENDANT: Yes.
·8· · · ·THE COURT:· All right.· Do the -- let's
·9· ·see, do you have a copy of the presentence
10· ·report there at counsel table?
11· · · ·THE DEFENDANT: Yes.
12· · · ·THE COURT:· Have you gone over that
13· ·carefully with your attorney with the help of
14· ·an interpreter, if necessary?
15· · · ·THE DEFENDANT: We didn't have a chance to
16· ·do that. I haven't seen it.
17· · · ·MR. MORGAN:· May I have just a moment,
18· ·Judge?
19· · · ·THE COURT:· Yes, sir.
20· · · ·MR. MORGAN:· Thank you, your Honor.
21· · · ·Your Honor, I think I was successful in
22· ·refreshing his recollection, but if you'd like
23· ·to review that with him, that's fine.
24· · · ·THE COURT:· Mr. Garcia, I'll come back to
25· ·that same question, having discussed the

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·1· ·matter with your attorney, are you able to
·2· ·tell me without reservation that you have gone
·3· ·over the presentence report carefully with
·4· ·your attorney so that you believe you
·5· ·understand it?
·6· · · ·THE DEFENDANT: Yes, that's fine.
·7· · · ·THE COURT:· All right.· Are there any
·8· ·outstanding objections, counselor?
·9· · · ·MR. MORGAN:· May it please the Court, we
10· ·have made several and only left one to be
11· ·argued today.· But during the recess the
12· ·government and I met with the probation
13· ·officer and agreed that the remaining
14· ·objection about the gun enhancement would not
15· ·be appropriate because the evidence of the gun
16· ·predated the dates of the conspiracy and the
17· ·government had agreed not to ask for any
18· ·relevant conduct type of enhancements.· So I
19· ·believe that issue has been resolved.· And if
20· ·your honor accepts that, then there would be
21· ·no need to argue any objections.
22· · · ·THE COURT:· That agreeable with you, Mr.
23· ·Kaufman?
24· · · ·MR. KAUFMAN:· Yes, your Honor, we agree
25· ·with Mr. Morgan and don't believe that the

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·1· ·two-level enhancement should apply in the
·2· ·case.
·3· · · ·THE COURT:· All right.
·4· · · ·MR. MORGAN:· If I might continue, that
·5· ·should reduce the total offense level to a 36
·6· ·with a guideline range on a criminal history
·7· ·category of one of 188 to 235 months.
·8· · · ·MR. KAUFMAN:· We agree, your Honor.
·9· · · ·MR. MORGAN:· I believe that's correct.
10· · · ·And we'll simply be asking for a sentence
11· ·at the low end of the guideline range.· And at
12· ·the appropriate time, I think Mr. Garcia would
13· ·like to say something.· I don't mean to jump
14· ·the gun here.
15· · · ·THE COURT:· All right, sir.· Excuse me.
16· · · ·All right.· With that change and that
17· ·being the only objection, the Court will adopt
18· ·the presentence report for all purposes of
19· ·sentencing except as modified.
20· · · ·It is reliable and credible and it, as
21· ·modified, calculates the offense level at 36,
22· ·criminal history Category 1, putting defendant
23· ·at a 188 to 235-month guideline custody range.
24· · · ·Will there be any motion for departure by
25· ·the government.

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·1· · · ·MR. KAUFMAN:· No, your Honor.
·2· · · ·THE COURT:· You may be heard, Mr. Morgan.
·3· · · ·MR. MORGAN:· Thank you, your Honor.
·4· · · ·Other than asking for a sentence at he
·5· ·low end of the guideline range and designation
·6· ·as close to home.· He has two children that
·7· ·live in the Watauga County area.
·8· · · ·He has asked me to point out to the
·9· ·Court, in addition to what's contained -- or
10· ·in support of what's contained in the
11· ·presentence report about his working history,
12· ·I have a letter that he's just given me from
13· ·Wright Brothers Construction Company in --
14· ·looks like they're base in Charleston,
15· ·Tennessee confirming his employment in 2000
16· ·and 2001.
17· · · ·THE COURT:· All right, sir.
18· · · ·Would you care to say anything to the
19· ·Court, sir?
20· · · ·THE DEFENDANT: Well, most of all, I just
21· ·want to apologize for my offense.· And I feel
22· ·very sorry.· And it's fine with what has been
23· ·done because I feel that I am guilty.· And I
24· ·agree to what's happening.· But I feel sorry
25· ·for my family that's staying here.· I have two

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·1· ·children, ten and 15.· And the mother of my
·2· ·children, who's not healthy bodily.· But I am
·3· ·aware that I committed an offense by doing
·4· ·this.· And I apologize.· But everything that's
·5· ·happened is all right.· I'm sorry.
·6· · · ·THE COURT:· All right.· Thank you.
·7· · · ·We'll hear from the government.
·8· · · ·MR. KAUFMAN:· Thank you, your Honor.
·9· · · ·Consistent with the plea agreement the
10· ·parties have agreed that a guideline sentence
11· ·that's appropriate in this case.· Mr. Garcia
12· ·was involved in a -- approximately a four-year
13· ·methamphetamine trafficking conspiracy
14· ·responsible for well in excess of one and a
15· ·half kilograms of methamphetamine.
16· · · ·That said, he did plead guilty, took
17· ·responsibility for his actions.· And I do
18· ·believe that the low end of the guidelines of
19· ·188 months is sufficient, but not greater than
20· ·necessary.
21· · · ·THE COURT:· All right.· Thank you.
22· · · ·Anything further then before the Court
23· ·states the sentence?
24· · · ·MR. MORGAN:· Not from the Defendant.
25· · · ·THE COURT:· Okay.· The Court is persuaded

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·1· ·that the low end of the guideline will serve
·2· ·the purposes of sentencing and would represent
·3· ·a -- an individualized sentence based on real
·4· ·conduct underlying the crime of conviction and
·5· ·otherwise the nature and circumstances of the
·6· ·offense and the history and characteristics of
·7· ·the Defendant.
·8· · · ·The Court recognizes that the offense is
·9· ·a serious one that spans a four-year period,
10· ·that was very pervasive, involved daily --
11· ·virtually daily activity by the Defendant.· It
12· ·involved a number, of course, participants
13· ·other than himself as described in the
14· ·presentence report.
15· · · ·The parties in the plea agreement agree
16· ·to a guideline sentence, and the sentence 188
17· ·months complies with that provision of the
18· ·agreement.· And as indicated, the Court
19· ·approves of the extent of the sentence, even
20· ·apart from the plea agreement given all the
21· ·facts stated in the presentence report and the
22· ·seriousness of the offense.
23· · · ·The Court has gone over the Defendant's
24· ·sentencing memorandum, which it dealt with the
25· ·objection, which has already been sustained

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·1· ·with the agreement of the government.
·2· · · ·So pursuant to the Sentencing Reform Act
·3· ·of 1984, the Booker case and 18 U.S. Code 3553
·4· ·(a), Defendant is committed to custody for a
·5· ·term of 188 months.· He'll be required to
·6· ·support his dependents from prison earnings
·7· ·while incarcerated.
·8· · · ·The Court recommends he be allowed to
·9· ·participate in any educational and vocational
10· ·opportunities available to him while
11· ·incarcerated.
12· · · ·Upon release from imprisonment he'll be
13· ·on supervised release for a term of five
14· ·years.· In accordance with established
15· ·procedures provided by the Immigration and
16· ·Naturalization Act 8 U.S. Code 1101 and
17· ·following sections, Defendant upon release
18· ·from imprisonment is be surrendered to a duly
19· ·authorized immigration official for
20· ·deportation.· As a condition of supervised
21· ·release, if ordered deported, he shall remain
22· ·outside the United States.
23· · · ·Should deportation not occur, he shall
24· ·report in person within 72 hours of release
25· ·from custody of the Bureau of Prisons or the

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·1· ·Immigration and Customs Enforcement Agency to
·2· ·the Probation Office in the district to which
·3· ·he is released.
·4· · · ·As a further condition of supervised
·5· ·release, he shall abide by all orders and
·6· ·directives of United States Immigration
·7· ·officials.
·8· · · ·While on supervised release he shall not
·9· ·commit another federal, state or local crime,
10· ·shall comply with the standard conditions
11· ·adopted by this Court.
12· · · ·He shall pay the United States a special
13· ·assessment of $100.· He does not have the
14· ·ability to pay a fine or interest, the Court
15· ·having considered the factors from 18 U.S.
16· ·Code 3572 (a), so those items are waived.
17· · · ·The defendant has requested that he be
18· ·placed in a facility as close as possible to
19· ·his home, which I believe he said was Catawba
20· ·County?
21· · · ·MR. MORGAN:· Watauga, yes, sir.
22· · · ·THE COURT:· Watauga County.
23· · · ·MR. MORGAN:· Correct.
24· · · ·THE COURT:· And the Court will make that
25· ·recommendation.

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·1· · · ·MR. MORGAN:· Thank you, your Honor.
·2· · · ·THE COURT: Will the government be
·3· ·dismissing Count 2?
·4· · · ·MR. KAUFMAN:· Yes, your Honor, we so
·5· ·move.
·6· · · ·THE COURT:· Let be it be dismissed.
·7· · · ·The -- or the consent order and judgment
·8· ·of forfeiture filed on February 2nd -- excuse
·9· ·me, February 4th, 2013 will be incorporated
10· ·into the judgment.
11· · · ·You have a right to appeal, Mr. Garcia.
12· ·To do that you would have to give a written
13· ·notice of your wish to appeal to the clerk of
14· ·this court within 14 days after the Court
15· ·files its sentencing judgment resulting from
16· ·today's hearing.
17· · · ·You may appeal without prepayment of
18· ·costs since you have been found to be
19· ·indigent.
20· · · ·Your attorney or the Clerk of Court would
21· ·fill out a Notice of Appeal for you if you
22· ·should ask one of them to do that.
23· · · ·If you gave up certain appeal rights by
24· ·way of your plea agreement, you should discuss
25· ·that with your attorney as it might affect

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·1· ·your decision on whether or not to not to file
·2· ·a direct appeal or any appeal.
·3· · · ·Anything further?
·4· · · ·MR. KAUFMAN:· No, your Honor.
·5· · · ·MR. MORGAN:· No, your Honor.· Thank you.
·6· · · ·THE COURT:· All right.· Thank you all.
·7· ·Sentence is imposed as stated.
·8· · · · · · · · · · · (TIME NOTED: 12:07 p.m.)
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·1· UNITED STATES DISTRICT COURT

·2· WESTERN DISTRICT OF NORTH CAROLINA

·3· CERTIFICATE OF REPORTER

·4

·5

·6

·7· · · · · · I certify that the foregoing transcript

·8· is a true and correct transcript from the record of

·9· proceedings in the above-entitled matter.

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14· · · · · · Dated this 14th day of February 2014.

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· · · · · · · · · · V. DARIO STANZIOLA, CSR, RPR, CRR
22· · · · · · · · · Notary Public No. 20011200120

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